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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
IN RE AMAZON.COM. INC. EBOOK
ANTITRUST LITIGATION,

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-----------------------------------------------------------------X           21-CV-351 (GHW) (VF)
BOOKENDS & BEGINNINGS, LLC, on behalf of                                    21-CV-2584 (GHW) (VF)
itself and all others similarly situated,
                                             Plaintiff,
                                                                         ORDER SCHEDULING ORAL
                          -against-                                            ARGUMENT

AMAZON.COM, INC., HACHETTE BOOK
GROUP, INC; HARPERCOLLINS PUBLISHERS L.L.C.;
MACMILLAN PUBLISHING GROUP, LLC; PENGUIN
RANDOM HOUSE LLC; SIMON & SCHUSTER, INC.,

Defendants. ---------------------------------------------------------X


VALERIE FIGUEREDO, United States Magistrate Judge



         Oral argument on the pending motions to dismiss is hereby scheduled for Friday, July 21,

2023, at 10:00 a.m. (Eastern Time). Counsel for the Parties are directed to call Judge Figueredo’s

AT&T conference line at the scheduled time. Please dial (888) 808-6929; access code [9781335].


         SO ORDERED.

DATED:          New York, New York
                July 17, 2023



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                                                              VALERIE FIGUEREDO
                                                              United States Magistrate Judge
